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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 2:06-cr-55-3

MELISSA JUDE,

                              Defendant.


                  MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a sua sponte motion, brought pursuant to 18 U.S.C. § 3582(c)(2),

to reduce Defendant’s sentence based on a subsequent reduction in the applicable sentencing

guideline. On November 1, 2007, the United States Sentencing Guidelines were amended to reduce

by two levels the guidelines in Section 2D1.1 for cocaine base (also known as crack). Subsequently,

the Sentencing Commission amended Section 1B1.10 to make the crack amendment retroactive,

effective March 3, 2008. Pursuant to a Standing Order entered on February 6, 2008, this case was

designated for Expedited consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and received any materials submitted by the parties

on this issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a),

consistent with § 3582(c)(2), and public safety.

       In the defendant’s plea agreement, she stipulated that the amount of cocaine base relevant

to her case was at least 50 grams, but less than 150 grams. Based on this drug amount, the Court
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found that the defendant’s base offense level was 32. The court also found that the defendant had

a criminal history category of II. Consequently, the defendant’s original guideline range was 135-

168 months. Based on a motion for substantial assistance, the Court reduced the defendant’s total

offense level to 22. The imprisonment range for criminal history category II and offense level 22

was 46-57 months imprisonment. The defendant was sentenced to 48 months imprisonment.

       The United States has indicated that it does not object to a two-level reduction in the

defendant’s sentence. Consequently, the Court ORDERS that the defendant’s base offense level be

reduced by two levels, resulting in a new total offense level of 20 and a guideline range of 37 to 46

months. It is further ORDERED that Defendant’s previous sentence be reduced to a period of 38

months, with credit for time served to date pursuant to U.S.S.G. 1B1.10(b)(2)(C).

       The Court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel,

the United States Attorney, the United States Probation Office, the Federal Bureau of Prisons and

the United States Marshals.

                                                      ENTER:         March 14, 2008
